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                EXHIBIT 8
                        Case 2:15-cv-00102-RSM Document
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                                              UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                  APPLE INC., a California corporation,            CASE NO. 11-cv-01846-LHK

                                 Plaintiff,                        NOTICE OF APPEARANCE

                          vs.

                  SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                  ELECTRONICS AMERICA, INC., a New
                    York corporation; SAMSUNG
                  TELECOMMUNICATIONS AMERICA,
                    LLC, a Delaware limited liability company,
                 
                                  Defendants.
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                                                                                       NOTICE OF APPEARANCE
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                   1         TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                   2         PLEASE TAKE NOTICE that John S. Gordon of Quinn Emanuel Urquhart & Sullivan,

                   3 LLP hereby appears as counsel of record for Samsung Electronics Co., Ltd., Samsung Electronics

                   4 America, Inc. and Samsung Telecommunications America, LLC.

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                 12 DATED:          October 14, 2013           QUINN EMANUEL URQUHART &
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                 13

                 14

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